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                     1   CROWELL & MORING LLP
                         Mark R. Troy (Bar No. 120418)
                     2   Jeffrey H. Rutherford (Bar No. 181695)
                         Megan A. Weisgerber (Bar No. 285271)
                     3   515 S. Flower St., 40th Floor
                         Los Angeles, California 90071
                     4   Telephone: 213.622.4750
                         Facsimile: 213.622.2690
                     5   Email:      mtroy@crowell.com
                                     jrutherford@crowell.com
                     6               mweisgerber@crowell.com
                     7   Attorneys for Defendants
                         QTC MEDICAL SERVICES, INC. and
                     8   LOCKHEED MARTIN CORPORATION
                     9
                                               UNITED STATES DISTRICT COURT
                10
                                              CENTRAL DISTRICT OF CALIFORNIA
                11
                12
                         United States of America, ex rel.    Case No. CV 14-08961-PA (SSx)
                13       David Vatan, M.D.,
                                                              DEFENDANTS QTC MEDICAL
                14                       Plaintiff,           SERVICES, INC. AND LOCKHEED
                                                              MARTIN CORPORATION’S REPLY
                15             v.                             IN SUPPORT OF MOTION TO
                                                              DISMISS [DKT. NO. 30]
                16       QTC Medical Services, Inc. et al.,
                                                              Hearing:     February 8, 2016
                17                       Defendant.
                                                              Time:        1:30 p.m.
                18                                            Place:       Courtroom 15
                                                                           Los Angeles – Spring Street
                19                                            Judge:       Hon. Percy Anderson
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                     1         Vatan’s opposition brief clarifies his theory in this case: Vatan harbors the
                     2   personal opinion that QTC employees were unqualified and untrained, they worked
                     3   too quickly, and these things suggest possible fraud. (Dkt. No. 31, Pl.’s Opp’n. Br.
                     4   (“Opp’n.”) at 2-4.) Allegations like that do not state a claim under the False Claims
                     5   Act (“FCA”).
                     6         In an effort to distract the Court from the deficiencies in his second amended
                     7   complaint, Vatan argues that Defendants’ motion improperly attempts to interpret
                     8   and argue the sufficiency of the evidence. (Opp’n. at 4.) Vatan is wrong. Any
                     9   defendant challenging the adequacy of a complaint at the pleading stage must
                10       assume all of the plaintiff’s allegations to be true. This is exactly what Defendants
                11       have done in their pending motion to dismiss. But even assuming Vatan’s
                12       allegations to be true, they fail to allege the particular details needed to allow a
                13       plausible inference that QTC submitted false claims to the government. Because
                14       Vatan already has had three opportunities and plenty of time to plead his FCA
                15       claims properly, but has yet to satisfy the pleading requirements of Rules 8 and
                16       9(b), the Court should dismiss Vatan’s FCA claims with prejudice.
                17       I.    Vatan’s Opposition Brief Fails To Address The Deficiencies In His
                18             Second Amended Complaint
                19             This is Defendants second motion to dismiss in this case. In both motions,
                20       Defendants explained the deficiencies in Vatan’s theories of FCA liability. Neither
                21       the second amended complaint (which Vatan filed instead of opposing Defendants’
                22       first motion to dismiss), nor Vatan’s brief in opposition to Defendants’ second
                23       motion to dismiss address these deficiencies. Rather, in both filings, Vatan recites
                24       only his personal beliefs about QTC’s contract performance: employees were
                25       unqualified and worked too fast, QTC rewarded speed, and Vatan was fired when
                26       he complained about the review process. From this, Vatan offers the speculative
                27       conclusion that QTC defrauded the government. He draws this conclusion without
                28       identifying a single instance of QTC knowingly or recklessly failing to refer an
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                     1   eligible c-file to the VA for re-adjudication.
                     2         Vatan raises several arguments in his opposition brief. The following sub-
                     3   sections explain why these arguments cannot save Vatan’s FCA claims from
                     4   dismissal.
                     5         A.     Vatan cannot proceed on a false certification theory of liability
                     6         To the extent Vatan alleges a false certification theory of liability—and it is
                     7   unclear from his opposition brief if he is pursuing this—the Court should dismiss
                     8   this theory from the case.
                     9         Vatan has a fundamental misunderstanding of FCA false certifications, i.e.,
                10       “legally false” claims for payment. To state a claim under a false certification
                11       theory, Vatan would need to allege that QTC “certifie[d] compliance with a law,
                12       rule or regulation as part of the process through which the claim for payment is
                13       submitted,” or that QTC had “previously undertaken to expressly comply with a
                14       law, rule, or regulation, and that obligation is implicated by submitting a claim for
                15       payment even though a certification of compliance is not required in the process of
                16       submitting the claim.” Ebeid ex rel. United States v. Lungwitz, 616 F.3d 993, 998
                17       (9th Cir. 2010). Either way, it is the false certification of compliance—not the
                18       underlying violation—that creates liability only “when certification is a prerequisite
                19       to obtaining a government benefit.” Id.
                20             In his opposition brief, Vatan mentions the false certification theory of
                21       liability (Opp’n. at 8), but he makes no attempt to tie that theory to the allegations
                22       in his complaint. His second amended complaint uses the term “certification” to
                23       describe CFA and Physician signatures on the VA-created checklists. (Dkt. No. 29,
                24       Second Am. Compl. (“SAC”) ¶¶6, 58.) But signatures on checklists—which, on
                25       their face, do not certify of compliance with any QTC obligation—are not the type
                26       of certifications contemplated by this theory of liability. See Ebeid, 616 F.3d at
                27       996; see also United States ex rel. Hopper v. Anton, 91 F.3d 1261, 1267 (9th Cir.
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                     1   1996) (explaining that the relevant certification of compliance must be both “a
                     2   prerequisite to obtaining a government benefit,” and a “sine qua non of receipt of
                     3   [government] funding”)). Then Vatan offers the speculative conclusion that QTC
                     4   submitted claims for payment to the government, which contained false express and
                     5   implied certifications of compliance with unidentified and unspecified contract
                     6   requirements. (SAC ¶¶ 97-98, 112-13.) Aside from this speculative legal
                     7   conclusion, the complaint is devoid of any factual allegation that QTC violated a
                     8   law, rule, or regulation, that QTC falsely certified compliance with that obligation,
                     9   and that that certification was a prerequisite for payment.
                10              Accordingly, to the extent Vatan’s FCA claims survive the pleading stage,
                11       Defendants ask the Court to make a specific finding that Vatan has failed to state a
                12       claim under the false certification theory of FCA liability, precluding Vatan from
                13       pursuing this theory in the case by attempting to discover some unknown
                14       certification.
                15              B.        Vatan does not allege any knowingly false statements
                16              The bulk of Vatan’s opposition brief focuses on his allegations that QTC
                17       submitted purportedly factually false claims to the government. But he muddles the
                18       requirements for adequately pleading a knowing false statement.
                19              The first element of an FCA claim—a false statement or fraudulent course of
                20       conduct—requires plausible factual allegations that the statement or conduct
                21       “represent an objective falsehood.” Wilson, 525 F.3d at 377. To satisfy the scienter
                22       requirement, a plaintiff must plausibly allege that the defendant made “a palpably
                23       false statement, known to be a lie when it is made.” United States ex rel. Hendow
                24       v. Univ. of Phoenix, 461 F.3d 1166, 1172 (9th Cir. 2006); see also Gonzalez v.
                25       Planned Parenthood of Los Angeles, 759 F.3d 1112, 1115 (9th Cir. 2014) (“The
                26       statutory phrase ‘known to be false’ does not mean scientifically untrue; it means a
                27       lie.’”). In the context of an FCA claim involving substandard services—the
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                     1   conduct Vatan alleges here—a claim can be “factually false when the claimant
                     2   misrepresents what goods or services it provided to the government.” United States
                     3   ex. rel. Campie v. Gilead Scis., Inc., 2015 WL 3659765, at *8 (N.D. Cal. June 12,
                     4   2015)).
                     5         In his opposition brief, Vatan attempts to simplify the meaning of “factually
                     6   false” claims by offering the following hypothetical: a government contract requires
                     7   the defendant to supply it with gasoline containing an octane rating of 90 or higher,
                     8   and the contractor knowingly supplied gasoline with an octane rating of 87 and
                     9   billed the government for it. (Opp’n. at 11-12.) Then Vatan argues that in this
                10       case, like in the hypothetical, the government contracted with QTC to provide
                11       “competent substantive” reviews of c-files and medical “opinions” as to whether
                12       each c-file was potentially eligible for re-adjudication by the VA, and QTC’s claims
                13       for payment for “non-conforming reviews” were factually false. (Opp’n. at 12-13.)
                14             Vatan’s hypothetical is a straight product-substitution allegation: the
                15       government contracted for X, but defendant knowingly provided Y, with Y being
                16       an objectively different product than X. This is not a product substitution case but a
                17       case alleging, at best, a subjective opinion of poor performance of a service.
                18       Therefore, Vatan’s hypothetical is not on point. Even if an analogy could be made
                19       between QTC’s service and a product substitution, Vatan’s allegations are
                20       inadequate. Because Vatan does not identify any contractual provision or VA-
                21       specific guideline requiring QTC to conduct a specific type of c-file review, Vatan
                22       has identified no X against which to measure QTC’s performance (i.e., the Y in
                23       Vatan’s hypothetical). His assertion that QTC was contractually required to render
                24       “competent substantive” reviews and “opinions” does not enable an assessment of
                25       QTC’s conduct for an objective falsehood, which is a requirement under the FCA.
                26             Vatan concedes in his opposition brief that his second amended complaint
                27       attacks “performance” issues. (Opp’n. at 3.) In this regard, Vatan’s allegations of
                28       factually false claims are based on his subjective interpretation of QTC’s
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                     1   contractual duties to review c-files and render opinions about eligibility for re-
                     2   adjudication. Vatan does not even identify the words “competent” and
                     3   “substantive” as terms in the VA Contract. His subjective claim presents—at
                     4   best—“a disputed legal question about . . . contractual duties,” i.e., a claim for
                     5   breach of contract. United States ex rel. Wilson v. Kellogg Brown & Root, Inc., 525
                     6   F.3d 370, 377 (4th Cir. 2008) (internal quotation marks and alterations omitted)
                     7   (“An FCA relator cannot base a fraud claim on nothing more than his own
                     8   interpretation of an imprecise contractual provision. To hold otherwise would
                     9   render meaningless the fundamental distinction between actions for fraud and
                10       breach of contract.”). Vatan cannot convert a breach of contract claim—a claim he
                11       has no standing to bring—into “factually false” claims under the FCA because
                12       “[t]his is precisely the sort of claim that courts have determined not to be false
                13       statements under the FCA.” Id. (citing Hagood v. Sonoma Cty. Water Agency, 81
                14       F.3d 1465, 1477 (9th Cir. 1996) (holding that disputed legal issues about how to
                15       interpret imprecise and discretionary statutory language does not support a
                16       reasonable inference of falsity under the FCA)).
                17             C.     Vatan’s allegations do not permit an inference of knowing fraud
                18             In the absence of objectively false statements, a plaintiff may survive a
                19       motion to dismiss if he or she alleges sufficiently particular details of an alleged
                20       scheme “paired with reliable indicia that lead to a strong inference that claims were
                21       actually submitted.” Ebeid, 616 F.3d at 998-99. In assessing the plausibility of an
                22       inference, courts draw on “judicial experience and common sense and consider
                23       obvious alternative explanations.” United States ex rel. Cafasso v. Gen. Dynamics
                24       C4 Sys., Inc., 637 F.3d 1047, 1056 (9th Cir. 2011). Vatan’s basis for a “scheme”
                25       boils down to this: QTC hired people who were unqualified and untrained and
                26       worked too fast, and QTC fired Vatan when he complained about employees
                27       working too fast. (Opp’n. at 2-3, 10, 13-15.)
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                     1          Because the “whole” can be no greater than the sum of its parts, the
                     2   following paragraphs explain why each aspect of the purported “scheme” fails to
                     3   provide reliable indicia leading to a strong inference that QTC submitted false
                     4   claims.
                     5          Qualifications and training. Vatan argues that as part of QTC’s scheme to
                     6   defraud the government, it hired CFAs who were “not qualified by education or
                     7   training to perform the contractually required tasks.” (Opp’n. at 14 (citing SAC
                     8   ¶¶ 51-53).) This allegation appears to be based on the fact that, unlike Vatan, most
                     9   of the CFAs did not have medical degrees. (SAC ¶ 53.) But Vatan offers no
                10       factual basis for why he personally believes that CFAs were unqualified, and he
                11       cites no contract requirement or VA expectation that QTC would hire CFAs with
                12       only certain qualifications and train them in a particular way. The obvious
                13       alternative explanation for this allegation is that CFAs were not required to have
                14       medical degrees—only Physician reviewers were required to be licensed medical
                15       professionals (SAC ¶ 53, SAC Ex. 6)—and they received “on the job” training.
                16              Speed. The crux of Vatan’s “scheme” allegation is QTC’s emphasis on
                17       speed and that employees worked too quickly. (Opp’n. at 2, 10, 16 (citing SAC
                18       ¶¶ 61-65).) First, Vatan argues that the “nature of the contract” contained an
                19       “incentive” for speed because the VA paid QTC on a per-file basis, and QTC could
                20       increase profitability by reviewing c-files quickly. (Opp’n. at 2.) But the VA
                21       drafted the contract and selected this type of contract to incentivize its contractor to
                22       review the files in a speedy manner. Vatan cannot plausibly allege an inference that
                23       QTC submitted false claims based on the structure of the contract itself simply
                24       because that structure provides QTC a theoretical opportunity to increase
                25       profitability.
                26              Next, Vatan points to his allegations that QTC rewarded and emphasized
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                     1   speed over quality.1 (Opp’n. at 3, 10, 15-16.) But the only factual basis for this
                     2   allegation is that QTC expected CFAs to meet an individual minimum goal of
                     3   reviewing 15 c-files per day (SAC ¶ 69); and one time, after the CFAs reviewed a
                     4   large number of files in a single day, QTC management emailed the review team
                     5   and told them “very good,” and “keep it up.” (SAC ¶ 70.) These are not plausible
                     6   allegations of a fraudulent scheme. Vatan makes no allegation that the contract
                     7   required any minimum or maximum quota, and he provides no basis to assess
                     8   whether QTC’s quota was reasonable. And there is certainly nothing fraudulent
                     9   about QTC encouraging employees to work quickly and efficiently.
                10             Finally, Vatan alleges that two unnamed CFAs claimed to have reviewed
                11       over 30 c-files in a single day. (SAC ¶¶ 67, 69.) Vatan’s factual basis for these
                12       allegations is that he saw these numbers on a piece of paper that listed performance
                13       statistics. (SAC ¶¶ 67, 69.) But these statistics are meaningless without any
                14       indication of the circumstances under which the unnamed CFAs performed the
                15       reviews. The most obvious alternative explanation is that these CFAs reviewed
                16       only small c-files, e.g., files that were less than an inch thick, on the days in
                17       question and perhaps worked overtime those days. Without more context, these
                18       incidents are not reliable indications that QTC submitted false claims for payment.
                19             Examples of the “scheme.” In his second amended complaint, Vatan offers
                20       several examples, which he claims are “evidence” of QTC’s purported scheme.
                21       These examples involve alleged incidents of Physicians signing off on checklists
                22       without realizing the “assignment” sheets were mixed up (SAC ¶ 86); unnamed
                23       Physicians quickly reviewing large c-files after Vatan purportedly spent hours
                24
                25             1
                                Vatan also argues in his opposition brief that QTC expected to hire 60
                26       CFAs to complete the Nehmer and PN Reviews, but QTC decided to “speed up the
                         assembly line” rather than hire all 60 of them. (Opp’n. at 10.) This allegation does
                27
                         not appear anywhere in the second amended complaint.
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                     1   reviewing them (SAC ¶¶ 67, 69, 86); and the VA returning 184 checklists because
                     2   the last question on the checklist had not been completed. (SAC ¶¶ 87-89) Vatan
                     3   then gave six examples of c-files where QTC purportedly “missed” evidence that he
                     4   claims would have qualified the veteran for potential re-adjudication. (SAC ¶ 92-
                     5   94.)
                     6          In their opening brief, Defendants explained precisely why each example, on
                     7   its face, failed to provide any reliable indication that QTC had made a mistake in
                     8   reviewing any of the 160,000 c-files at issue, much less permit an inference that
                     9   QTC had submitted false claims in support of a scheme to defraud the government.
                10       (See Dkt. No. 30, Mot. to Dismiss at 17-23.) Rather than address Defendants’
                11       arguments, Vatan repeats almost verbatim the examples as they are worded in his
                12       second amended complaint. (Opp’n. at 16-19.) QTC is left with allegations that,
                13       on their face, lack the details needed to determine whether QTC erroneously failed
                14       to refer an eligible c-file to the VA for re-adjudication (i.e., details about when an
                15       initial claim was filed, whether it was granted or denied and why, and whether the
                16       veteran had earlier diagnoses for one of the service-connect diseases), as well as
                17       details allowing QTC to identify the c-files at issue, who reviewed those files, and
                18       who in QTC management was aware of the alleged problems.
                19              Retaliation. Finally, Vatan argues that QTC ignored, threatened, and
                20       terminated “employees” for “continuing” to raise issues of substandard contract
                21       performance through internal channels, and this retaliation is reliable evidence of
                22       QTC’s scheme. (Opp’n. at 15.) As an initial matter, allegations of retaliation—
                23       absent other reliable indications of fraud—do not support a plausible inference that
                24       false claims were submitted. Otherwise, a retaliation claim (which does not require
                25       an adequate allegation of fraud)2 would supplant the pleading requirements of an
                26
                                2
                27               To state a claim for retaliation, a plaintiff need only allege that he or she
                         engaged in protected conduct (e.g., he or she complained about fraud), the
                28       (Continued…)
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                     1   FCA violation. In any event, Vatan’s argument suggesting that multiple employees
                     2   (plural) were subject to retaliation for continuing to raise issues through internal
                     3   channels is misleading: the second amended complaint mentions only one
                     4   employee (Vatan himself) against whom QTC allegedly retaliated,3 and it was after
                     5   Vatan sent a single email in October 2014 to management raising concerns about
                     6   the review process.4 (SAC ¶¶ 79, 100.)
                     7         D.     Vatan’s attempt to enumerate particularity falls short
                     8         With respect to particularity, Vatan argues that Defendants are aware of the
                     9   contract at issue, and therefore he has satisfied 9(b) pleading requirements because
                10       Defendants are “readily able” to identify the services at issue and “defend against
                11       the charge.” (Opp. at 9 at n.3.) Vatan misses the point of Defendants’ 9(b)
                12       argument. Defendants do not dispute that they are aware of and familiar with the
                13       contract at issue. The problem with Vatan’s allegations, however, is he has
                14       launched a wholesale attack on the entirety of QTC’s services for the Nehmer and
                15       PN Reviews, and Defendants are in the dark about what specific conduct Vatan
                16
                17       employer knew about the protected conduct, and the employer discriminated
                         against the plaintiff because of the protected conduct. Cafasso, 637 F.3d at 1060
                18       (quoting Hopper, 91 F.3d at 1269).
                               3
                19               Vatan also alleges that an unnamed CFA confronted a Physician (Dr.
                         Eisenbach) because he was not reviewing checklists properly, and Dr. Eisenbach
                20
                         then complained to management that the CFA had referred to him by his first name.
                21       QTC management later told the CFA not to refer to Dr. Eisenbach by his first name
                         and then issued the CFA a letter “threatening” disciplinary action due to
                22
                         productivity issues. (SAC ¶¶ 71-78.) This is not an allegation of FCA retaliation
                23       because Vatan makes no allegation that QTC management knew that the CFA has
                         complained about Dr. Eisenbach’s alleged improper review of checklists.
                24
                               4
                                 Vatan does allege that he “again communicated” his concerns regarding the
                25
                         review process after the November 2014 incident when the VA returned the 184
                26       checklists (SAC ¶ 102), but he offers no details about this purported
                         communication, e.g., how he communicated his concerns, what he said, and to
                27
                         whom he said it.
                28
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                     1   claims is fraudulent and how that fraud occurred. “This type of allegation, which
                     2   identifies a general sort of fraudulent conduct but specifies no particular
                     3   circumstances of any discrete fraudulent statement, is precisely what Rule 9(b) aims
                     4   to preclude.” Cafasso, 637 F.3d at 1057; Bly-Magee v. California, 236 F.3d 1014,
                     5   1018 (9th Cir. 2001) (“Rule 9(b) serves not only to give notice to defendants of the
                     6   specific fraudulent conduct against which they must defend, but also to deter the
                     7   filing of complaints as a pretext for the discovery of unknown wrongs, to protect
                     8   defendants from the harm that comes from being subject to fraud charges, and to
                     9   prohibit plaintiffs from unilaterally imposing upon the court, the parties and society
                10       enormous social and economic costs absent some factual basis.”) (internal quotation
                11       marks and alterations omitted).
                12             Vatan’s attempt to enumerate his “particular” allegations—the who, what,
                13       when, where, and how of the alleged fraud—falls short. For example:
                14             The “who.” Vatan argues that he has identified several individuals in his
                15       complaint: Beronica Ramos, Fleshika Ashley, Dr. Eisenbach, Frenorgin Ubengen,
                16       Jason Seibel, Mary Ann Umali-Abitria, Kerrie Schuster, Donna Brown, and An
                17       Tanag. (Opp’n. at 13.) But the allegations about these individuals are completely
                18       innocuous and do not state their role in any fraudulent scheme. Beronica Ramos, a
                19       supervisor, re-arranged the workspaces of CFAs and Physicians (SAC ¶ 75);
                20       Felshika Ashely distributed productivity statistics (SAC ¶ 68); Frenorgin Ubungen
                21       and Donna Brown were mere recipients of Vatan’s email complaining about the
                22       review process (SAC ¶¶ 80, 100); Jason Seibel received Vatan’s email about the
                23       review process and replied, albeit perhaps impolitely, asking Vatan to focus on his
                24       own duties (SAC ¶ 81); and Kerrie Schuster received Vatan’s email about the
                25       review process and replied, thanking him for sending the email and assuring him
                26       that she would follow up on the matter (SAC ¶ 82). An Tanag—who Vatan claims
                27       was a “Team Mentor” and one of the individuals responsible for the fraud (see
                28       Opp’n. at 13)—is not mentioned in the second amended complaint at all.
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                     1          The “what.” Vatan states that his second amended complaint alleges that
                     2   QTC implemented schemes to submit knowingly and intentionally false claims to
                     3   the government. (Opp’n. at 13-14.) This is a legal conclusion and offers no
                     4   particular details.
                     5          The “when.” Vatan argues that the scheme was throughout the duration of
                     6   the Nehmer and PN Reviews, starting before he was hired and continuing long after
                     7   he was fired. (Opp’n. at 14.) This does nothing to narrow when the alleged fraud
                     8   occurred.
                     9          The “how.” Vatan repeats his personal opinion about CFAs being
                10       unqualified and untrained and working too fast, and QTC’s emphasis on speed.
                11       (Opp’n. at 14-15.) That is the totality of the alleged “scheme.” For the reasons
                12       discussed at length above, this opinion, even accepted as true for purposes of this
                13       motion, is not a “scheme” and does not implicate fraud.
                14       II.    Vatan Does Not Contest That Lockheed Should Be Dismissed As A
                15              Defendant
                16              In their opening brief, Defendants argued that Vatan’s claims against
                17       Lockheed should be dismissed. While Lockheed is QTC’s parent corporation,
                18       Vatan does not allege that Lockheed is directly liable or liable under an alter ego
                19       theory for the alleged submission of knowingly false claims. (See Mot. to Dismiss
                20       at 23-24.) In his opposition brief, Vatan fails to address the deficiencies in naming
                21       Lockheed Martin as a defendant in this case. This failure is tantamount to
                22       conceding Defendants’ point. Accordingly, the Court should dismiss Lockheed as
                23       a defendant in this case.
                24       III.   Vatan’s FCA Claims Should Be Dismissed With Prejudice
                25              Vatan argues that the pending motion to dismiss is the “first instance” in
                26       which Defendants have been required to respond to this case in any way, and there
                27       has been “no burden” on Defendants in this case until this motion. (Opp. at 19.)
                28
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                     1   Vatan is wrong.
                     2         After being served, Defendants conferred with Vatan and explained the
                     3   deficiencies in his first amended complaint. Vatan refused to amend, and so
                     4   Defendants undertook the burden of filing a motion to dismiss the first amended
                     5   complaint. (Dkt. No. 30.) Only after Defendants filed their motion did Vatan
                     6   decide that he would file a second amended complaint in lieu of opposing that
                     7   motion. (Dkt. No. 27.) Defendants agreed that Vatan could have 29 days in which
                     8   to file his second amended complaint. Vatan filed his second amended complaint
                     9   on December 14, 2015, and although it has been edited, it contains the same
                10       substantive allegations as his first amended complaint. Vatan’s failure to cure the
                11       deficiencies in his complaint, despite having the benefit of Defendants’ first motion
                12       to dismiss, strongly indicates that Vatan does not have the facts necessary to
                13       comply with Rules 8 and 9(b), and that granting him leave to amend would be
                14       futile. This is more than enough for the Court to dismiss Vatan’s FCA claims with
                15       prejudice. Cafasso, 637 F.3d at 1058; United States ex rel. Lee v. SmithKline
                16       Beecham, Inc., 245 F.3d 1048, 1052 (9th Cir. 2001).
                17
                         Dated:   January 25, 2016                      CROWELL & MORING LLP
                18
                19                                                        /s/ Mark R. Troy
                                                                           Mark R. Troy
                20                                                     Jeffrey H. Rutherford
                                                                       Megan A. Weisgerber
                21
                                                                      Attorneys for Defendants
                22                                               QTC MEDICAL SERVICES, INC. and
                23                                              LOCKHEED MARTIN CORPORATION

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